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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

KEVIN EUGENE LANCASTER, #224246, )
                                 )
       Plaintiff,                )
                                 )
  v.                             )                   CIVIL ACTION NO. 2:20-CV-555-RAH
                                 )
                                 )
REGINALD KINCEY,                 )
                                 )
       Defendant.                )

                                            ORDER

         On January 5, 2021, the Magistrate Judge entered a Recommendation (Doc. 17) to

 which no timely objections have been filed. After an independent review of the file and upon

 consideration of the Recommendation, it is ORDERED that:

        1. The Recommendation of the Magistrate Judge is ADOPTED.

        2. This case is DISMISSED without prejudice for Plaintiff’s failure to comply with an

order of this court.

        A separate Final Judgment will be entered.

        DONE, on this the 25th day of May, 2021.


                                            /s/ R. Austin Huffaker, Jr.
                                     R. AUSTIN HUFFAKER, JR.
                                     UNITED STATES DISTRICT JUDGE
